             Case 23-10831-MFW           Doc 936-3      Filed 01/30/24     Page 1 of 2




                                   CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on January 30, 2024, I caused the foregoing

Fifth Monthly Staffing and Compensation Report of Huron Consulting Services LLC for the Period

from December 1, 2023, Through December 31, 2023 to be served upon the parties set forth on the

attached service list in the manner indicated, and all ECF participants registered in these cases were

served electronically on the date of filing through the Court’s ECF system at their respective email

addresses registered with the Court.


                                           /s/ Tori L. Remington
                                           Tori L. Remington (DE No. 6901)
            Case 23-10831-MFW           Doc 936-3          Filed 01/30/24        Page 2 of 2


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